     Case 4:25-cv-00288-BSM        Document 11      Filed 05/21/25    Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

JOSHUA CONNERS                                                             PLAINTIFF

v.                        CASE NO. 4:25-CV-00288-BSM

JACOB COOPER                                                             DEFENDANT


                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 21st day of May, 2025.



                                          _________________________________
                                          UNITED STATES DISTRICT JUDGE
